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                                          February 24, 2021

      VIA ECF
      The Honorable Leo I. Brisbois
      United States District Court
      515 West 1st Street Room 412
      Duluth, MN 55802-1397

             RE:    Gisairo v. Lenovo (United States) Inc.
                    Case No. 19-cv-2727 (WMW/LIB)


      Dear Judge Brisbois:

             I write on behalf of the parties in the above-referenced matter to seek a 10-day
      extension with respect to the deadlines set forth in the Court’s February 4, 2021 Pretrial
      Scheduling Order [Dkt. No. 46] – to March 8, 2021. The parties seek this extension
      because during their Meet and Confer calls, they have diligently discussed and continue
      to discuss early mediation and potential resolution of this matter. Plaintiffs and Defendant
      believe a brief extension of the pending deadlines would allow the parties to finalize
      those plans for an early mediation and permit them to provide the Court with a more
      accurate trajectory for the case as part of a joint 26(f) report.

                                                    Sincerely,
                                                    GUSTAFSON GLUEK PLLC




                                                    David A. Goodwin
      DAG/cmn
